                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

                                    NO. 5:18-CR-00452-FL-1


 UNITED STATES OF AMERICA                      )
                                               )
          v.                                   )   DEFENDANT’S SUPPLEMENT TO DE 500
                                               )          (WITH EXHIBITS 4-5)
 LEONID ISAAKOVICH TEYF                        )



       Defendant Leonid Isaakovich Teyf, through undersigned counsel, hereby supplements

DE 500 with the addition of Exhibits 4-5, attached hereto, and the additional narrative below:

       Exhibit 4 is an example of some of the required FBI/DOJ records sought through DE

500, generated to pay John Cotter, one of the Government’s cooperating witnesses in this case,

and produced to defense counsel. Exhibit 5 is a letter received from the government last night,

advising for the first time that in addition to expenses, D. Strogii has been paid “reimbursement

of lost wages and for general services ($20,186.02)” for a total of $21,293.04.

       As reflected above and in DE 500, the Government has paid very substantial sums to its

two main informants in this case and cannot conceal the underlying documentation and

information in connection therewith, to which the defendant is legally entitled to enforce his

Confrontation rights and otherwise for use in his defense.

       Wherefore, Defendant respectfully requests that the Court consider this supplementation

and the Proposed Sealed Motion on an expedited basis in light of the approaching trial, and order

the government to produce all such documents with respect to its paid informants no later than

5:00 p.m. on March 10.




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       This the 9th day of March, 2020.

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                                             Counsel for Defendant


                                CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of March, 2020, I electronically filed the foregoing
SUPPLEMENTATION OF DE 500 (WITH EXHBITS 4-5) with the Clerk of the Court using
the CM/ECF system, which will serve an electronic copy of the foregoing by email on the
following counsel of record.

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